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                       IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF HAWAI'I


R.P.-K., through his parent C.K.,             CIVIL NO. CV10 00436 DAE-KSC
R.T.D., through his parents R.D. and          (Other Civil Action)
M.D., B.P., through her parent M.P.,
and C.B., through his parent N.B., for        PLAINTIFFS’ RENEWED
themselves and on behalf of a class of        MOTION FOR A PRELIMINARY
those similarly situated, and the             INJUNCTION; MEMORANDUM;
HAWAII DISABILITY RIGHTS                      DECLARATION OF JASON H.
CENTER, in a representative capacity          KIM, EXHIBITS A-F;
on behalf of its clients and all others       DECLARATION OF J.K.,
similarly situated,                           EXHIBITS I-J; DECLARATION OF
                                              N.W., EXHIBITS K-L;
                  Plaintiffs,                 DECLARATION OF A.K.,
                                              EXHIBITS M-N, DECLARATION
         vs.                                  OF B.C., EXHIBITS O-P;
                                              DECLARATION OF S.T.,
DEPARTMENT OF EDUCATION,                      EXHIBITS Q-R; DECLARATION
State of Hawai‘i,                             OF L.D., EXHIBITS S-T;

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                                                  CERTIFICATE OF SERVICE
                  Defendants.
                                                  TRIAL:   October 25, 2011



                          PLAINTIFFS’ RENEWED MOTION
                         FOR A PRELIMINARY INJUNCTION
                  Plaintiffs through their undersigned attorneys move the Court

pursuant to Rule 65 of the Federal Rules of Civil Procedure for a preliminary

injunction requiring the DOE to continue to provide educational and related

services until the conclusion of this action to K.K., M.W., A.C.K., K.C., A.D., and

M.L. and to all other members of the Plaintiff class who have qualified for

Extended School Year services.

                  This motion is based upon the attached memorandum, declarations,

and exhibits and upon such further evidence and argument as may be presented

prior to or during a hearing on this motion.

                  DATED: Honolulu, Hawai`i, August 1, 2011.


                                          /s/ Jason H. Kim
                                          JOHN P. DELLERA
                                          PAUL ALSTON
                                          JASON H. KIM
                                          Attorneys for Plaintiffs




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